                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                            DOCKET NO. 3:16-cr-00295-MOC-DCK

 UNITED STATES OF AMERICA,                    )
                                              )
                                              )
                                              )
 Vs.                                          )                     ORDER
                                              )
 MAGGIE ELIZABETH SANDERS;                    )
 AND JAMIE NICOLE MCDANIEL,                   )
                                              )
                 Defendants.                  )



       THIS MATTER is before the Court on the government’s Motion to Dismiss Indictment.

Having considered the motion and reviewed the pleadings, the Court enters the following Order.

                                         ORDER

       IT IS, THEREFORE, ORDERED that the government’s Motion to Dismiss Indictment

(#63) is GRANTED, and the charges against MAGGIE ELIZABETH SANDERS and JAMIE

NICOLE MCDANIEL in this action are DISMISSED without prejudice.




 Signed: March 22, 2017




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